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EXHIBIT “A”
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‘Filing # 60500798 B-Filed 08/16/2017 03:34:05 PM

IN THE CIRCUIT COURT OF THE SIXTEENTH JU DICIAL CIRCUIT
IN AND FOR MONROE COUNTY, FLORIDA

CASE NO.:
PRIVILEGE UNDERWRITERS RECIPROCAL
EXCHANGE, a foreign corporation a/s/o
BRUCE BROUSSARD and JANINE
BROUSSARD,

Plaintiff,
Vv.

JOE’S PROPERTY MANAGEMENT LLC,

Defendant.
/

COMPLAINT

 

COMES NOW, the Plaintiff, PRIVILEGE UNDERWRITERS RECIPROCAL
EXCHANGE, a foreign corporation als/o BRUCE BROUSSARD and JANINE BROUSSARD,
by and through their undersigned counsel, and pursuant to the Florida Rules of Civil Procedure,
respectively sues Defendant, JOE’S PROPERTY MANAGEMENT LLC, and as grounds

therefore states as follows:
GENERAL ALLEGATIONS COMMON TO ALL COUNTS

1. This is a subrogated cause of action for damages to real and personal property
owned by BRUCE BROUSSARD and- JANINE BROUSSARD (collectively ‘“BROUSS ARD”);
said damages exceed Fifteen Thousand Dollars and 00/100 ($15,000.00), exclusive of interest,
attorneys’ fees and costs and, therefore, the subrogated cause of action is within the subject

matter jurisdiction of this Court.
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2. At all times material, PRIVILEGE UNDERWRITERS RECIPROCAL
EXCHANGE (“PURE”) was and remains a foreign insurance corporation, doing business as an
insurance carrier properly registered with the Florida Department of Insurance, and therefore, is
authorized to transact business, and is transacting business, in the State of Florida, and in
particular, Monroe County, Florida.

3. At all times material, BROUSSARD was the record owner of the property located
at 104 Andros Road, Key Largo, FL 33037 (“Broussard Residence”).

4. At all times material, JOES PROPERTY MANAGEMENT (“JOES) is and was a
Florida corporation, authorized to and transacting business in the State of Florida, and in
particular, Monroe County, Florida.

5. At all times material, JOES did commit tortious conduct in Monroe County,

Florida.

6. On or about January 15, 2016 JOES was present at the Broussard Residence.

7. On or about January 15, 2016 JOES left a blanket on the stovetop at the Broussard
Residence.

8. On or about January 15, 2016 JOES caused a burner on the stovetop to ignite
while the blanket was lying on it.

9. Asa direct and proximate result of JOES’ conduct, a fire ignited and caused
severe damage to the Broussard Residence.

10. BROUSSARD timely notified PURE, its insurer, of its claim for damages to the
Broussard Residence. PURE determined the loss was a “covered loss” and paid accordingly.

11. PURE is subro gated to all the rights, claims and causes of action that

BROUSSARD would otherwise have against JOES for damages caused to BROUSSARD.
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12. All conditions precedent to the institution of this action have been performed,
occurred, waived or otherwise have been excused.
13. Venue is proper in this Court as all acts and/or omissions which form the basis of

this action occurred in Monroe County, Florida.

COUNT I - NEGLIGENCE

Plaintiff, PURE, hereby realleges and reaffirms paragraphs 1-13, as if fully set forth

herein.

14. At all times material, JOES owed a duty of reasonable care to perform services at
the Broussard Residence in such a way so as to not cause damage.

15. JOES breached its duty of care by turning on the stovetop while a blanket covered
the stovetop surface.

16. ‘As a direct and proximate result of JOES” conduct, a fire ignited and caused

severe damage to the Broussard Residence.

17. As a direct and proximate result of JOES’ conduct, BROUSSARD, and in turn,
PURE, have suffered damages.

WHEREFORE, PRIVILEGE UNDERWRITERS RECIPROCAL EXCHANGE als/o
BRUCE BROUSSARD and JANINE BROUSSARD, by and through undersigned counsel,
demands judgment against JOES PROPERTY MANAGEMENT LLC, for damages, costs, pre-

judgment interest and such other relief as this Court deems just and proper.
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DATED this 15% day of August, 2017.

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